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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JOHN DOE, | CASE NO.

Plaintiff,

Vv.
UNIVERSITY OF SCRANTON,

Defendant

 

 

COMPLAINT
PARTIES
k. Plaintiff, John Doe, is an adult individual and citizen of the State of
New Jersey who resides at | i Plaintiff is a

recent graduate of Defendant, University of Scranton, having graduated in May

2019.

2. Defendant, University of Scranton, is a private university located at

800 Linden Street, Scranton, PA 18510.
JURISDICTION AND VENUE
3. Pursuant to 28 U.S.C. §§ 1331 and 1343, this Court has subject-matter
jurisdiction over Plaintiff's claims as those claims present a federal question.
4. This Court has jurisdiction over Defendant because Defendant’s
contacts with this state and judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and

 

 

 
 

 

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substantial justice, satisfying the standard set forth by the Supreme Court of the
United States in International Shoe Company v. State of Washington, 326 U.S. 310

(1945), and its progeny.

5. Venue is proper under 28 U.S.C. §§ 1391(b)(1)-(2) because the
Defendant resides in and/or conducts business in this judicial district, and because a
substantial part of the acts and/or omissions giving rise to the claims set forth herein
occurred in this judicial district.

COUNT I:
HARASSMENT/HOSTILE ENVIRONMENT BASED ON SEXUAL
ORIENTATION/GENDER STEREOTYPING, IN VIOLATION OF
TITLE IX OF THE EDUCATION AMENDMENTS OF 1972,
20 U.S.C. § 1681, et seq.
(Plaintiff, John Doe v. Defendant, University of Scranton)

6. All of the foregoing paragraphs are hereby incorporated by reference
as if the same were more fully set forth at length herein.

7. At all times relevant hereto, Plaintiff was an undergraduate student at
the Defendant University and, in order to attend, Plaintiff paid Defendant a total of
approximately $ 138,612.85 in private tuition and related expenses, and, in addition,
Plaintiff took out a total of approximately $ 20,209.41 in student loan debt, during

which time Defendant turned a blind eye while Plaintiff was subjected to bullying,

harassment, and physical abuse on account of Plaintiffs sexual orientation/gender

stereotyping, depriving Plaintiff of equal educational opportunities.

 

 

 
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i,

8. Upon information and belief, at all times relevant hereto, Defendant
was subject to Title [X of the Education Amendments of 1972, 20 U.S.C. § 1681, et
seq., because Defendant received federal financial assistance for its educational
programs and activities.

9. Plaintiff was subjected to a hostile environment/harassment based on
sexual orientation/gender stereotyping — based on the fact that Plaintiff intimately
associates with those of the same sex (male), or, in other words, based on the fact
that he is gay. The facts which support this are as follows:

a. As a matter of policy, Defendant provides that Defendant will
supply a “safe place” and “voice” for students who are
LGBTQ+, “while holding true and dedicated to Catholic
teaching ....” Defendant’s policy and practice of not being
fully LGBT-inclusive fosters a campus culture of bigotry, and a
hostile environment as described more fully below.

b. Plaintiff believes during the Second Semester of Freshman year,
Plaintiff believes in or around 2016, Plaintiff met with Ms.
Karen Marx, Administrative Assistant in the Academic Advising
Center, who told Plaintiff that Ms. Marx knew Plaintiff's sister
who at the time was presently attending the University of

Scranton. Upon information and belief, Plaintiff's sister

 

 

 

 

 
 

 

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informed Ms. Marx that her brother, the Plaintiff, might be gay,
because Plaintiff’s sister saw Plaintiff walking together with
someone of the same sex. Ms. Marx informed Plaintiff that Ms.
Marx felt there might be occasions where some people might
have issues with Plaintiff being gay, or words to that effect.

C. During Fall Semester 2018, Plaintiff lived in an off-campus
housing unit located at 423 Taylor Avenue, Scranton, PA 18510,
with four (4) male students.

d. Shortly after moving into the housing unit in August 2018, and
including in or around October or November 2018, male student
and Plaintiff's roommate, Shawn Mallon, who, upon
information and belief, does not identify as gay, would
frequently make derogatory comments like, ““You’re gay,” to
other male students (not the Plaintiff); commented that other
students “look gay”; and would also frequently make derogatory
comments in general like, “That’s gay.”

e. Plaintiff recalls, on one occasion, but Plaintiff does not recollect
the specific date, that Plaintiff stated to Mallon, “Well, I’m gay,”

responding to Mallon stating, “That’s gay,” about something.

 

 
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Plaintiff was rebuffing or telling Mallon not to say that being
gay was a bad thing, because the Plaintiff is gay.

f. Shortly after moving into the housing unit in August 2018, and
continuing thereafter on a frequent basis, Mallon ostracized
Plaintiff and treated him with aversion by frequently speaking
down to Plaintiff in a denigrating manner, and disagreeing with
or debating Plaintiff, while Plaintiff observed that Mallon did
not treat similarly-situated students/roommates, who were not
openly gay, the same way, including Dan, Lou, or Gavin. In
addition, a student, Billy, who was not openly gay, often joined
the group, although Billy did not live in the off-campus house.
However, Mallon would not speak to or treat Billy in the same
manner as Plaintiff.

g. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were driving together to get
food, and Mallon started speaking in a disrespectful manner
toward Plaintiff. Plaintiff recalls that another student, Dan,

asked Mallon whether Mallon was speaking that way to Dan.

Mallon responded no, that he was speaking to Plaintiff like that.

 

 

 

 

 
 

 

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Mallon felt it was appropriate to speak to and treat Plaintiff in a
denigrating manner because Plaintiff is gay.

h. After Plaintiff moved into the housing unit in August 2018,

| although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were planning to go out
together for the night, and Maillon stated to Plaintiff in a
disrespectful manner, “Why don’t you bring a girl over?”, or
words to that effect. However, Mallon knew that Plaintiff is
gay, in other words, that Plaintiff intimately associates with
those of the same sex (male). Mallon said this to embarrass
Plaintiff and make Plaintiff feel different from the others, as if
Plaintiff did not fit in, because Plaintiff is gay.

1. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that Mallon commented negatively about a female
student’s appearance, and after Plaintiff objected, Mallon said to
Plaintiff in a disrespectful manner, “You don’t even like girls,”
or words to that effect.

j- On November 1, 2018, Mallon sent text messages referring to

Plaintiff, in a group chat where the others could see, stating to

 

 

 

 

 

 
 

 

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Plaintiff, among other things, “you’re [sic.] below me
intellectually but you’re [sic.] probably used to being in that
position,” “just remember you got bent over and anal fucked by
facts just like Derek bent you over then kicked you too [sic.] the
comer,” and “Derek took any respect you had for yourself.”
Derek is Plaintiffs ex-boyfriend.

k. In or around November 2018, after Plaintiff received the above
text messages from Mallon, Plaintiff complained about his living
situation to Ms. Karen Marx, Administrative Assistant in
Defendant’s Academic Advising Center. Plaintiff recollects that
he specifically showed Ms. Marx the text messages from
Mallon. Ms. Marx responded to Plaintiff by reminding him that
Ms. Marx and Plaintiff had discussed in Plaintiff's Freshman
year that some people might have issues with Plaintiff being
gay, and said, “You only have to live with him one more
semester after this,” or words to that effect. Plaintiff did not feel
his complaint was taken seriously.

1. In or around November 2018, after Plaintiff received the above
text messages from Mallon, and after Plaintiff spoke with Ms.

Marx, Plaintiff then took his complaint to Mr. Kevin Stanford,

 

 

 
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
   
     

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Academic Advisor. Plaintiff recollects that Mr. Stanford said,
among other things, “Don’t let it get to you,” or words to that
effect. Plaintiff still did not feel his complaints were being taken
seriously.

m. Defendant, including Ms. Marx and Mr. Stanford, did not take
sufficient steps to prevent, correct, and remedy the harassing
situation. Defendant, including Ms. Marx and Mr. Stanford,
instead were deliberately indifferent and turned a blind eye to
the situation.

n. _— Plaintiff further recollects that Mallon would frequently
speculate about other students’ sexual orientation, in a
disparaging manner, including in or around November 2018,
around the time of Mallon’s text messages.

o. In or around November 2018, Plaintiff recollects around the
time of Mallon’s text messages, Mallon stated, in a disparaging
manner, that another male student would have sex with someone
“not caring whether they were male or female,” or words to that
effect.

p. On or about December 15, 2018, Shawn Mallon physically

attacked/assaulted Plaintiff. During the attack, Mallon called

 

 

 

 
 

 

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Plaintiff a “faggot” and stated to Plaintiff, among other things,
“T’m gonna murder you in your sleep,” or words to that effect.
Plaintiff reported the incident to Defendant and the police.

10. Plaintiff was subjectively offended by the above conduct, the above
conduct is objectively offensive, and the above-described harassment was severe
and/or pervasive.

ll. In addition to previously altering Ms. Marx and Mr. Stanford to the
discrimination/harassment, and alerting the police about the assault, Plaintiff lodged
a complaint about the discrimination, harassment, and assault on account of
Plaintiff's sexual orientation with Lauren Rivera, Dean of Students, in or around
December 2018 and January 2019. Plaintiff spoke with Ms. Rivera multiple times
during this time period. At zo time did Ms. Rivera determine that the complained-of
conduct actually violated Defendant’s sexual harassment policy and the law against
sex discrimination or harassment.

12. Plaintiff's mother also followed up with Dean Rivera in February 2019
after Plaintiff did not receive a satisfactory response. Upon information and belief,
Dean Rivera stated to Plaintiff's mother, who subsequently told Plaintiff,
“Pennsylvania doesn’t recognize this as a hate crime,” or words to that effect, by

which Dean Rivera meant Pennsylvania did not prohibit hate crimes based on

sexual orientation criminally. Ms. Rivera did not determine that the complained-of

 

 

 
 

 

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conduct violated Defendant’s sexual harassment policy and the law against sex
discrimination or harassment.

13. In or around December 2018 and January 2019, Plaintiff also verbally
spoke with and e-mailed Elizabeth Garcia, Executive Director, Office of Equity and
Diversity. However, upon information and belief, at no time did Defendant
independently determine that the complained-of conduct actually violated
Defendant’s sexual harassment policy or Title IX.

14. Even if the police conducted an investigation into Plaintiff's assault,
this did not satisfy the Defendant’s independent duty under Title LX to investigate,
correct, and remedy the discrimination/harassment. The standard for a criminal
conviction is “reasonable doubt,” which is a much higher standard than the
“preponderance of the evidence” standard applicable under Title [X.

15. Plaintiff observed the assailant walking around campus, in the
DeNaples Center, in the dining hall/cafeteria, and at the gym, thereafter. Plaintiff
regularly avoided the DeNaples Center, eating in the dining hall/cafeteria, and
going to the gym, because he saw the assailant there, and out of fear Plaintiff would
continue to encounter the assailant there moving forward.

16. Even after a no-contact order was instituted between Plaintiff and the
assailant, in or around February 2019, Plaintiff stated to Dean Rivera that Plaintiff

continued to encounter the assailant around campus. Plaintiff recalls saying, for

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example, that Plaintiff felt like he could not go to the gym because he did not know
when the harasser would be there. Dean Rivera stated to Plaintiff that there was
nothing she could do about that.

17. Atno time did Defendant provide Plaintiff any information about the
outcome or result of any investigation conducted by Defendant, and, upon
information and belief, to Plaintiff's knowledge, no hearing was ever conducted by
Defendant, at which Plaintiff could have addressed these matters.

18. Upon information and belief, Defendant did not discipline the harasser
under the Defendant’s policy that prohibited sex discrimination and sexual
harassment pursuant to Title EX.

19. Defendant unfairly disadvantaged Plaintiff, the harassee, instead of the
harasser, in that Plaintiff moved out of the off-campus unit and back onto campus,
and Defendant recalculated Plaintif’s financial aid package, which required
Plaintiff to pay more for room and board for Spring Semester 2019, than for the off-
campus housing unit in Fall Semester 2018. The move also caused Plaintiff to incur
relocation expenses, out-of-pocket expenses, and suffer inconvenience. Upon
information and belief, Mallon did noi move out of the house.

20. Plaintiff experienced, and continues to experience, pain and suffering,

mental anguish, humiliation, embarrassment, and emotional distress, on account of

 

 
 

 

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the abuse Plaintiff suffered, and for which Plaintiff has incurred additional expenses
in attending professional counseling.

21. Defendant is not fully LGBT-inclusive and intentionally discriminated
against Plaintiff based on sex by permitting same-sex sexual harassment of Plaintiff
because of his sexual orientation/gender stereotyping or because he is gay.
Defendant subjected Plaintiff to disparate treatment based on sex as Defendant did
not treat Plaintiffs complaints as seriously compared to a heterosexual female
student, if she would have complained of the same behavior, for example, by
treating her complaint as one of sexual harassment.

WHEREFORE, Plaintiff, John Doe, hereby demands judgment in his favor
and against Defendant, University of Scranton, including damages for any out-of-
pocket expenses; the difference between the amounts Plaintiff paid to live on
campus following the assault, as opposed to off-campus; compensatory damages for
pain and suffering, mental anguish, anxiety, depression, humiliation, and emotional
distress; pre- and post-judgment interest, reasonable attorneys’ fees, costs of suit;
and equitable/injunctive relief requiring that Defendant adopt, post, and disseminate
a policy stating that, moving forward, all complaints of sexual-orientation
discrimination will be processed as complaints of sex discrimination under the

University’s Title [X grievance procedure; and a policy stating that, moving

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forward, Defendant will first require or encourage the harasser, rather than the
harassee, to move residences.
COUNT II:
DIFFERENT TERMS, CONDITIONS, OR PRIVILEGES RELATING TO
THE PROVISION OF FACILITIES AND SERVICES, BASED ON

SEXUAL ORIENTATION/GENDER STEREOTYPING, IN

VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS
OF 1972, 20 U.S.C. § 1681, et seq.
(Plaintiff, John Doe y. Defendant, University of Scranton)

22. All of the foregoing paragraphs are hereby incorporated by reference
as if the same were more fully set forth at length herein.

23. Plaintiff was subjected to different terms, conditions, or privileges
relating to the provision of facilities and services, on account of Plaintiff's sexual
orientation/gender stereotyping. The facts which support this are as follows:

a. AS a matter of policy, Defendant provides that Defendant will
supply a “safe place” and “voice” for students who are
LGBTQ4+, “while holding true and dedicated to Catholic
teaching ....” Defendant’s policy and practice of not being
fully LGBT-inclusive fosters a campus culture of bigotry, and a
hostile environment as described more fully below.

b. Defendant unfairly disadvantaged Plaintiff, the harassee, instead

of the harasser, in that Plaintiff moved out of the off-campus

unit and back onto campus, and Defendant recalculated

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Plaintiff's financial aid package, which required Plaintiff to pay
more for room and board for Spring Semester 2019, than for the
off-campus housing unit in Fall Semester 2018. Upon
information and belief, Mallon did not move out of the house.

c. Plaintiff observed the assailant walking around campus, in the
DeNaples Center, in the dining hall/cafeteria, and at the gym,
thereafter. Plaintiff regularly avoided the DeNaples Center,
eating in the dining hall/cafeteria, and going to the gym, because
he saw the assailant there, and out of fear Plaintiff would
continue to encounter the assailant there moving forward.

d. Even after a no-contact order was instituted between Plaintiff
and the assailant, in or around February 2019, Plaintiff stated to
Dean Rivera that Plaintiff continued to encounter the assailant
around campus. Plaintiff recalls saying, for example, that
Plaintiff felt like he could not go to the gym because he did not
know when the harasser would be there. Dean Rivera stated to
Plaintiff that there was nothing she could do about that.

e. At no time did Defendant provide Plaintiff any information
about the outcome or result of any investigation conducted by

Defendant, and, upon information and belief, to Plaintiff's

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knowledge, no hearing was ever conducted by Defendant, at
which Plaintiff could have addressed these matters.
f. Upon information and belief, Defendant did not discipline the
harasser under the Defendant’s policy that prohibited sex
discrimination and sexual harassment pursuant to Title IX.
WHEREFORE, Plaintiff, John Doe, hereby demands judgment in his favor
and against Defendant, University of Scranton, including damages for any out-of-
pocket expenses; the difference between the amounts Plaintiff paid to live on
campus following the assault, as opposed to off-campus; compensatory damages for
pain and suffering, mental anguish, anxiety, depression, humiliation, and emotional
distress; pre- and post-judgment interest, reasonable attorneys’ fees, costs of suit;
and equitable/injunctive relief requiring that Defendant adopt, post, and disseminate
a policy stating that, moving forward, all complaints of sexual-orientation
discrimination will be processed as complaints of sex discrimination under the
University’s Title [X grievance procedure; and a policy stating that, moving
forward, Defendant will first require or encourage the harasser, rather than the

harassee, to move residences.

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COUNT II:
INTERFERENCE, COERCION, AND INTIMIDATION BASED ON
SEXUAL ORIENTATION/GENDER STEREOTYPING, IN VIOLATION OF
THE FAIR HOUSING ACT, TITLE VHI OF THE CIVIL RIGHTS ACT OF
1968, AS AMENDED BY THE FAIR HOUSING AMENDMENTS ACT OF
1988, 42 U.S.C. § 3617 [Sec. 818]
(Plaintiff, John Doe v. Defendant, University of Scranton)
24. All of the foregoing paragraphs are hereby incorporated by reference as if
the same were more fully set forth at length herein.
25. Defendant violated Section 818 of the Fair Housing Act, 42 U.S.C. § 3617,
by “threatening, intimidating, or interfering with” Plaintiff in his “enjoyment of a
dwelling because of the... sex... of such person.” 24 C.F.R. § 100.400(c)(2). The
facts which support this are as follows:
a. As a matter of policy, Defendant provides that Defendant will

supply a “safe place” and “voice” for students who are

LGBTQ+, “while holding true and dedicated to Catholic

teaching ....” Defendant’s policy and practice of not being

fully LGBT-inclusive fosters a campus culture of bigotry, and a

hostile environment as described more fully below.

b. Plaintiff believes during the Second Semester of Freshman year,
Plaintiff believes in or around 2016, Plaintiff met with Ms.

Karen Marx, Administrative Assistant in the Academic Advising

Center, who told Plaintiff that Ms. Marx knew Plaintiff's sister

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who at the time was presently attending the University of
Scranton. Upon information and belief, Plaintiff's sister
informed Ms. Marx that her brother, the Plaintiff, might be gay,
because Plaintiff's sister saw Plaintiff walking together with
someone of the same sex. Ms. Marx informed Plaintiff that Ms.
Marx felt there might be occasions where some people might
have issues with Plaintiff being gay, or words to that effect.

c. Dumnng Fall Semester 2018, Plaintiff lived in an off-campus
housing unit located at 423 Taylor Avenue, Scranton, PA 18510,
with four (4) male students.

d. Shortly after moving into the housing unit in August 2018, and
including in or around October or November 2018, male student
and Plaintiff's roommate, Shawn Mallon, who, upon
information and belief, does not identify as gay, would
frequently make derogatory comments like, “You’re gay,” to
other male students (not the Plaintiff); commented that other
students “look gay”; and would also frequently make derogatory
comments in general like, “That’s gay.”

€. Plaintiff recalls, on one occasion, but Plaintiff does not recollect

the specific date, that Plaintiff stated to Mallon, “Well, I’m gay,”

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responding to Mallon stating, “That’s gay,” about something.
Plaintiff was rebuffing or telling Mallon not to say that being
gay was a bad thing, because the Plaintiff is gay.

f. Shortly after moving into the housing unit in August 2018, and
continuing thereafter on a frequent basis, Mallon ostracized
Plaintiff and treated him with aversion by frequently speaking
down to Plaintiff in a denigrating manner, and disagreeing with
or debating Plaintiff, while Plaintiff observed that Mallon did
not treat similarly-situated students/roommates, who were not
openly gay, the same way, including Dan, Lou, or Gavin. In
addition, a student, Billy, who was not openly gay, often joined
the group, although Billy did not live in the off-campus house.
However, Mallon would not speak to or treat Billy in the same
manner as Plaintiff.

g. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were driving together to get

food, and Mallon started speaking in a disrespectful manner
toward Plaintiff. Plaintiff recalls that another student, Dan,

asked Mallon whether Mallon was speaking that way to Dan.

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Mallon responded no, that he was speaking to Plaintiff like that.
Mallon felt it was appropriate to speak to and treat Plaintiff in a
denigrating manner because Plaintiff is gay.

h. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were planning to go out
together for the night, and Mallon stated to Plaintiff in a
disrespectful manner, “Why don’t you bring a girl over?”, or
words to that effect. However, Mallon knew that Plaintiff is
gay, in other words, that Plaintiff intimately associates with
those of the same sex (male). Mallon said this to embarrass
Plaintiff and make Plaintiff feel different from the others, as if
Plaintiff did not fit in, because Plaintiff is gay.

i, After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recal! the specific date, Plaintiff
recollects that Mallon commented negatively about a female
student’s appearance, and after Plaintiff objected, Mallon said to
Plaintiff in a disrespectful manner, “You don’t even like girls,”

or words to that effect.

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J. On November 1, 2018, Mallon sent text messages referring to
Plaintiff, in a group chat where the others could see, stating to
Plaintiff, among other things, “you’re [sic.] below me
intellectually but you’re [sic.] probably used to being in that
position,” “just remember you got bent over and anal fucked by
facts just like Derek bent you over then kicked you too [sic.] the
commer,” and “Derek took any respect you had for yourself.”
Derek is Plaintiff's ex-boyfriend.

k. In or around November 2018, after Plaintiff received the above
text messages from Mallon, Plaintiff complained about his living
situation to Ms. Karen Marx, Administrative Assistant in
Defendant’s Academic Advising Center. Plaintiff recollects that
he specifically showed Ms. Marx the text messages from
Mallon. Ms. Marx responded to Plaintiff by reminding him that
Ms. Marx and Plaintiff had discussed in Plaintiff's Freshman
year that some people might have issues with Plaintiff being

gay, and said, “You only have to live with him one more

semester after this,” or words to that effect. Plaintiff did not feel

his complaint was taken seriously.

 

 

 

 

 
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L. In or around November 2018, after Plaintiff received the above
text messages from Mallon, and after Plaintiff spoke with Ms.
Marx, Plaintiff then took his complaint to Mr. Kevin Stanford,
Academic Advisor. Plaintiff recollects that Mr. Stanford said,
among other things, “Don’t let it get to you,” or words to that
effect. Plaintiff still did not feel his complaints were being taken
senously.

m. Defendant, including Ms. Marx and Mr. Stanford, did not take
sufficient steps to prevent, correct, and remedy the harassing
situation. Defendant, including Ms. Marx and Mr. Stanford,
instead turned a blind eye to the situation.

n. Plaintiff further recollects that Mallon would frequently
speculate about other students’ sexual orientation, in a
disparaging manner, including in or around November 2018,
around the time of Mallon’s text messages.

Oo. In or around November 2018, Plaintiff recollects around the
time of Mallon’s text messages, Mallon stated, in a disparaging
manner, that another male student would have sex with someone

“not caring whether they were male or female,” or words to that

effect.

 

 

 

 

 
 

 

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p. On or about December 15, 2018, Shawn Mallon physically
attacked/assaulted Plaintiff. During the attack, Mallon called
Plaintiff a “faggot” and stated to Plaintiff, among other things,
“I’m gonna murder you in your sleep,” or words to that effect.
Plaintiff reported the incident to Defendant and the police.

26. Plaintiff was subjectively offended by the above conduct, the above
conduct is objectively offensive, and the above-described harassment was severe
and/or pervasive.

27. In addition to previously altering Ms. Marx and Mr. Stanford to the
discrimination/harassment, and alerting the police about the assault, Plaintiff lodged
a complaint about the discrimination, harassment, and assault on account of
Plaintiff's sexual orientation with Lauren Rivera, Dean of Students, in or around
December 2018 and January 2019. Plaintiff spoke with Ms. Rivera multiple times
during this time period. At no time did Ms. Rivera determine that the complained-of

conduct actually violated Defendant’s sexual harassment policy and the law against

 

sex discrimination or harassment.

28. Plaintiff's mother also followed up with Dean Rivera in February 2019
after Plaintiff did not receive a satisfactory response. Upon information and belief,
Dean Rivera stated to Plaintiff's mother, who subsequently told Plaintiff,

“Pennsylvania doesn’t recognize this as a hate crime,” or words to that effect, by

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which Dean Rivera meant Pennsylvania did not prohibit hate crimes based on
sexual orientation criminally. Ms. Rivera did not determine that the complained-of
conduct violated Defendant’s sexua/ harassment policy and the law against sex
discrimination or harassment.

29. In or around December 2018 and January 2019, Plaintiff also verbally
spoke with and e-mailed Elizabeth Garcia, Executive Director, Office of Equity and
Diversity. However, upon information and belief, at no time did Defendant
independently determine that the complained-of conduct actually violated
Defendant’s sexual harassment policy or the Fair Housing Act.

30. Even if the police conducted an investigation into Plaintiffs assault,
this did not satisfy the Defendant’s independent duty to investigate, correct, and
remedy the discrimination/harassment. The standard for a criminal conviction is
“reasonable doubt,” which is a much higher standard than the “preponderance of the
evidence” standard applicable under the Fair Housing Act.

31. Atno time did Defendant provide Plaintiff any information about the
outcome or result of any investigation conducted by Defendant, and, upon
information and belief, to Plaintiff's knowledge, no hearing was ever conducted by
Defendant, at which Plaintiff could have addressed these matters.

32. Defendant intentionally discriminated against Plaintiff based on sex by

unfairly disadvantaging or burdening Plaintiff, the harassee, instead of the harasser,

 

 
 

 

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in that Plaintiff moved out of the off-campus unit and back onto campus, and
Defendant recalculated Plaintiff’s financial aid package, which required Plaintiff to
pay more for room and board for Spring Semester 2019, than for the off-campus
housing unit in Fall Semester 2018. The move also caused Plaintiff to incur
relocation expenses, out-of-pocket expenses, and suffer inconvenience. Upon
information and belief, Mallon did not move out of the house.

33. Defendant is not fully LGBT-inclusive and intentionally discriminated
against Plaintiff based on sex by permitting same-sex sexual harassment of Plaintiff
because of his sexual orientation/gender stereotyping or because he is gay.
Defendant subjected Plaintiff to disparate treatment based on sex as Defendant did
not treat Plaintiff's complaints as seriously compared to a heterosexual female
student, if she would have complained of the same behavior, for example, by
treating her complaint as one of sexual harassment.

WHEREFORE, Plaintiff, John Doe, hereby demands judgment in his favor
and against Defendant, University of Scranton, including damages for any out-of-
pocket expenses; the difference between the amounts Plaintiff paid to live on
campus following the assault, as opposed to off-campus; compensatory damages for
pain and suffering, mental anguish, anxiety, depression, humiliation, and emotional
distress; punitive damages; pre- and post-judgment interest, reasonable attorneys’

fees, costs of suit, and equitable/injunctive relief requiring that Defendant adopt,

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post, and disseminate a policy stating that, moving forward, all complaints of
sexual-orientation discrimination will be processed as complaints of sex
discrimination under the University’s existing non-discrimination policy, whether
the conduct occurred on or off-campus; and a policy stating that, moving forward,
Defendant will first require or encourage the harasser, rather than the harassee, to

move residences.

; COUNT IV:
HARASSMENT/HOSTILE ENVIRONMENT BASED ON SEXUAL
ORIENTATION/GENDER STEREOTYPING,

IN VIOLATION OF THE FAIR HOUSING ACT, TITLE VIE OF THE
CIVIL RIGHTS ACT OF 1968, AS AMENDED BY THE FAIR HOUSING
AMENDMENTS ACT OF 1988, 42 U.S.C. § 3604(b) [Sec. 804(b)]

(Plaintiff, John Doe v. Defendant, University of Scranton)

34.  Allofthe foregoing paragraphs are hereby incorporated by reference
as if the same were more fully set forth at length herein.

35. Plaintiff lived in an off-campus housing accommodation which
constitutes a rental or dwelling under the Fair Housing Act, Title VIII of the Civil
Rights Act of 1968, as amended by the Fair Housing Amendments Act of 1988.

36. Plaintiff was subjected to a hostile environment/harassment based on

Plaintiff's sexual orientation/gender stereotyping — based on the fact that Plaintiff

intimately associates with those of the same sex (male), or, in other words, based on

the fact that he is gay. The facts which support this are as follows:

 

 

 
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a. As a matter of policy, Defendant provides that Defendant will
supply a “safe place” and “voice” for students who are
LGBTQ+, “while holding tue and dedicated to Catholic
teaching ....” Defendant’s policy and practice of not being
fully LGBT-inclusive fosters a campus culture of bigotry, anda
hostile environment as described more fully below.

b. Plaintiff believes during the Second Semester of Freshman year,
Plaintiff believes in or around 2016, Plaintiff met with Ms.
Karen Marx, Administrative Assistant in the Academic Advising
Center, who told Plaintiff that Ms. Marx knew Plaintiff's sister
who at the time was presently attending the University of
Scranton. Upon information and belief, Plaintiff's sister
informed Ms. Marx that her brother, the Plaintiff, might be gay,
because Plaintiff's sister saw Plaintiff walking together with
someone of the same sex. Ms. Marx informed Plaintiff that Ms.
Marx felt there might be occasions where some people might
have issues with Plaintiff being gay, or words to that effect.

C. During Fall Semester 2018, Plaintiff lived in an off-campus
housing unit located at 423 Taylor Avenue, Scranton, PA 18510,

with four (4) male students.

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d. Shortly after moving into the housing unit in August 2018, and
including in or around October or November 2018, male student
and Plaintiff's roommate, Shawn Mallon, who, upon
information and belief, does not identify as gay, would
frequently make derogatory comments like, “You're gay,” to
other male students (not the Plaintiff); commented that other
students “look gay”; and would also frequently make derogatory
comments in general like, “That’s gay.”

e. Plaintiff recalls, on one occasion, but Plaintiff does not recollect
the specific date, that Piaintift stated to Mallon, “Well, I’m gay,”
responding to Mallon stating, “That’s gay,” about something.
Plaintiff was rebuffing or telling Mallon not to say that being
gay was a bad thing, because the Plaintiff is gay.

f, Shortly after moving into the housing unit in August 2018, and
continuing thereafter on a frequent basis, Mallon ostracized
Plaintiff and treated him with aversion by frequently speaking
down to Plaintiff in a denigrating manner, and disagreeing with
or debating Plaintiff, while Plaintiff observed that Mallon did
not treat similarly-situated students/roommates, who were not

openly gay, the same way, including Dan, Lou, or Gavin. In

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addition, a student, Billy, who was not openly gay, often joined
the group, although Billy did not live in the off-campus house.
However, Mallon would not speak to or treat Billy in the same
manner as Plaintiff.

g. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were driving together to get
food, and Mallon started speaking in a disrespectful manner
toward Plaintiff. Plaintiff recalls that another student, Dan,
asked Mallon whether Mallon was speaking that way to Dan.
Mallon responded no, that he was speaking to Plaintiff like that.
Mallon felt it was appropriate to speak to and treat Plaintiff in a
denigrating manner because Plaintiff is gay.

h. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that some of the students were planning to go out
together for the night, and Mallon stated to Plaintiff in a
disrespectful manner, “Why don’t you bring a girl over?”, or
words to that effect. However, Mallon knew that Plaintiff is

gay, in other words, that Plaintiff intimately associates with

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those of the same sex (male). Mallon said this to embarrass
Plaintiff and make Plaintiff feel different from the others, as if
Plaintiff did not fit in, because Plaintiff is gay.

i. After Plaintiff moved into the housing unit in August 2018,
although Plaintiff does not recall the specific date, Plaintiff
recollects that Mallon commented negatively about a female
student’s appearance, and after Plaintiff objected, Mallon said to
Plaintiff in a disrespectful manner, “You don’t even like girls,”
or words to that effect.

j. On November 1, 2018, Mallon sent text messages referring to
Plaintiff, in a group chat where the others could see, stating to
Plaintiff, among other things, “you’re [sic.] below me
intellectually but you’re [sic.] probably used to being in that

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position,” “just remember you got bent over and anal fucked by
facts just like Derek bent you over then kicked you too [sic.] the
comer,” and “Derek took any respect you had for yourself.”
Derek is Plaintiff's ex-boyfriend.

k. In or around November 2018, after Plaintiff received the above

text messages from Mallon, Plaintiff complained about his living

situation to Ms. Karen Marx, Administrative Assistant in

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Defendant’s Academic Advising Center. Plaintiff recollects that
he specifically showed Ms. Marx the text messages from
Mallon. Ms. Marx responded to Plaintiff by reminding him that
Ms. Marx and Plaintiff had discussed in Plaintiff's Freshman
year that some people might have issues with Plaintiff being
gay, and said, “You only have to live with him one more
semester after this,” or words to that effect. Plaintiff did not feel
his complaint was taken seriously.

l. In or around November 2018, after Plaintiff received the above
text messages from Mallon, and after Plaintiff spoke with Ms.
Marx, Plaintiff then took his complaint to Mr. Kevin Stanford,
Academic Advisor. Plaintife recollects that Mr. Stanford said,
among other things, “Don’t let it get to you,” or words to that
effect. Plaintiff still did not feel his complaints were being taken
seriously.

m. Defendant, including Ms. Marx and Mr. Stanford, did not take
sufficient steps to prevent, correct, and remedy the harassing
situation.

n. _ Plaintiff further recollects that Mallon would frequently

speculate about other students’ sexual orientation, ina

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disparaging manner, including in or around November 2018,
around the time of Mallon’s text messages.

QO. In or around November 2018, Plaintiff recollects around the
time of Mallon’s text messages, Mallon stated, in a disparaging
manner, that another male student would have sex with someone
“not caring whether they were male or female,” or words to that
effect.

Pp. On or about December 15, 2018, Shawn Mallon physically
attacked/assaulted Plaintiff. During the attack, Mallon called
Plaintiff a “faggot” and stated to Plaintiff, among other things,
“I’m gonna murder you in your sleep,” or words to that effect.
Plaintiff reported the incident to Defendant and the police.

37. Plaintiff was subjectively offended by the above conduct, the above
conduct is objectively offensive, and the above-described harassment was severe
and/or pervasive.

38. In addition to previously altering Ms. Marx and Mr. Stanford to the
discrimination/harassment, and alerting the police about the assault, Plaintiff lodged
a complaint about the discrimination, harassment, and assault on account of
Plaintiffs sexual orientation with Lauren Rivera, Dean of Students, in or around

December 2018 and January 2019. Plaintiff spoke with Ms. Rivera multiple times

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during this time period. At wo time did Ms. Rivera determine that the complained-of
conduct actually violated Defendant’s sexwa/ harassment policy and the law against
sex discrimination or harassment.

39. Plaintiff's mother also followed up with Dean Rivera in February 2019
after Plaintiff did not receive a satisfactory response. Upon information and belief,
Dean Rivera stated to Plaintiff's mother, who subsequently told Plaintiff,
“Pennsylvania doesn’t recognize this as a hate crime,” or words to that effect, by
which Dean Rivera meant Pennsylvania did not prohibit hate crimes based on

sexual orientation criminally. Ms. Rivera did not determine that the complained-of

 

conduct violated Defendant’s sexual harassment policy and the law against sex
discrimination or harassment.

40. In or around December 2018 and January 2019, Plaintiff also verbally
spoke with and e-mailed Elizabeth Garcia, Executive Director, Office of Equity and.
Diversity. However, upon information and belief, at no time did Defendant
independently determine that the complained-of conduct actually violated
Defendant’s sexual harassment policy or the Fair Housing Act.

41. Even if the police conducted an investigation into Plaintiff’s assault,

this did not satisfy the Defendant’s independent duty to investigate, correct, and

remedy the discrimination/harassment. The standard for a criminal conviction is

 

 

 
 

 

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“reasonable doubt,” which i a much higher standard than the “preponderance of the
| evidence” standard applicable under the Fair Housing Act.

42.  Atno time did Defendant provide Plaintiff any information about the
outcome or result of any investigation conducted by Defendant, and, upon
information and belief, to Plaintiff's knowledge, no hearing was ever conducted by
Defendant, at which Plaintiff could have addressed these matters.

43. Defendant intentionally discriminated against Plaintiff based on sex by
|j unfairly disadvantaging or burdening Plaintiff, the harassee, instead of the harasser,
in that Plaintiff moved out of the off-campus unit and back onto campus, and
Defendant recalculated Plaintiffs financial aid package, which required Plaintiff to
pay more for room and board for Spring Semester 2019, than for the off-campus
housing unit in Fall Semester 2018. The move also caused Plaintiff to incur
relocation expenses, out-of-pocket expenses, and suffer inconvenience. Upon
information and belief, Mallon did zot move out of the house.

44. Defendant is not fully LGBT-inclusive and intentionally discriminated
against Plaintiff based on sex by permitting same-sex sexual harassment of Plaintiff
because of his sexual orientation/gender stereotyping or because he is gay.

Defendant subjected Plaintiff to disparate treatment based on sex as Defendant did

not treat Plaintiffs complaints as seriously compared to a heterosexual female

 

 

 
 

 

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student, if she would have complained of the same behavior, for example, by
treating her complaint as one of sexual harassment.

WHEREFORE, Plaintiff, John Doe, hereby demands judgment in his favor
and against Defendant, University of Scranton, including damages for any out-of-
pocket expenses; the difference between the amounts Plaintiff paid to live on
campus following the assault, as opposed to off-campus; compensatory damages for
pain and suffering, mental anguish, anxiety, depression, humiliation, and emotional
distress; punitive damages; pre- and post-judgment interest, reasonable attorneys’
fees, costs of suit; and equitable/injunctive relief requiring that Defendant adopt,
post, and disseminate a policy stating that, moving forward, all complaints of
sexual-orientation discrimination will be processed as complaints of sex
discrimination under the University’s existing non-discrimination policy, whether
the conduct occurred on or off-campus; and a policy stating that, moving forward,
Defendant will first require or encourage the harasser, rather than the harassee, to
move residences.

COUNT V:

DISCRIMINATION IN TERMS, CONDITIONS, AND PRIVILEGES
RELATING TO THE PROVISION OF FACILITIES AND SERVICES,
BASED ON SEXUAL ORIENTATION/GENDER STEREOTYPING,
IN VIOLATION OF THE FAIR HOUSING ACT, TITLE VIII OF THE
CIVIL RIGHTS ACT OF 1968, AS AMENDED BY THE FAIR HOUSING

AMENDMENTS ACT OF 1988, 42 U.S.C. § 3604(b) [Sec. 804(b)]
(Plaintiff, John Doe v. Defendant, University of Scranton)

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45. Allof the foregoing paragraphs are hereby incorporated by reference as if
the same were more fully set forth at length herein.

46. Defendant intentionally discriminated against Plaintiff based on sex by
subjecting Plaintiff to different terms, conditions, or privileges relating to the rental of a
dwelling, and/or denying or limiting the provision of facilities and services in connection
therewith, on account of Plaintiff's sexual orientation/gender stereotyping.

47. In the alternative, Defendant intentionally discriminated against Plaintiff
based on sex by subjecting Plaintiff to different terms, conditions, or privileges relating
to the rental of a dwelling, and/or denying or limiting the services or facilities in
connection therewith, on account of Plaintiff's response to sexual orientation/gender
stereotyping discrimination and harassment, and/or on account of the fact that Plaintiff

was a victim of sexual orientation/gender stereotyping discrimination and harassment.
The facts which support this are as follows:
a. AS a matter of policy, Defendant provides that Defendant will
supply a “safe place” and “voice” for students who are
LGBTQ+, “while holding true and dedicated to Catholic
teaching ....” Defendant’s policy and practice of not being
fully LGBT-inclusive fosters a campus culture of bigotry, and a

hostile environment as described more fully below.

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b. Defendant unfairly disadvantaged Plaintiff, the harassee, instead
of the harasser, in that Plaintiff moved out of the off-campus
unit and back onto campus, and Defendant recalculated
Plaintiff's financial aid package, which required Plaintiff to pay
more for room and board for Spring Semester 2019, than for the
off-campus housing unit in Fall Semester 2018. Upon
information and belief, Mallon did not move out of the house.

c. Plaintiff observed the assailant walking around campus, in the
DeNaples Center, in the dining hall/cafeteria, and at the gym,
thereafter. Plaintiff regularly avoided the DeNaples Center,
eating in the dining hall/cafeteria, and going to the gym, because
he saw the assailant there, and out of fear Plaintiff would
continue to encounter the assailant there moving forward.

d. Even after a no-contact order was instituted between Plaintiff
and the assailant, in or around February 2019, Plaintiff stated to
Dean Rivera that Plaintiff continued to encounter the assailant
around campus. Plaintiff recalls saying, for example, that
Plaintiff felt like he could not go to the gym because he did not
know when the harasser would be there. Dean Rivera stated to

Plaintiff that there was nothing she could do about that.

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€. At no time did Defendant provide Plaintiff any information

about the outcome or result of any investigation conducted by

Defendant, and, upon information and belief, to Plaintiff's

knowledge, no hearing was ever conducted by Defendant, at

which Plaintiff could have addressed these matters.

WHEREFORE, Plaintiff, John Doe, hereby demands judgment in his favor
and against Defendant, University of Scranton, including damages for any out-of-
pocket expenses; the difference between the amounts Plaintiff paid to live on
campus following the assault, as opposed to off-campus; compensatory damages for
pain and suffering, mental anguish, anxiety, depression, humiliation, and emotional
distress; punitive damages; pre- and post-judgment interest, reasonable attomeys’
fees, costs of suit; and equitable/injunctive relief requiring that Defendant adopt,
post, and disseminate a policy stating that, moving forward, all complaints of
sexual-orientation discrimination will be processed as complaints of sex
discrimination under the University’s Title [X grievance procedure; and a policy
stating that, moving forward, Defendant will first require or encourage the harasser,
rather than the harassee, to move residences.
JURY DEMAND

Plaintiff, John Doe, requests a trial by jury, of eight (8) members, on all

counts so triable.

 

 

 
 

 

 

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DATED:

1/19

Respectfully submitted,

THE LAW OFFICES OF ERIC A. SHORE, P.C.

 

 

Two Penn Center

1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19102

Phone: (215) 944-6121

Fax: (215) 944-6124
JustinR@EricShore.com

Attorney for Plaintiff, John Doe

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